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                                     UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF OHIO
                                           WESTERN DIVISION

KEVIN MULLINS,
Individually and on behalf of                                          Case No. 1:19cv964
all others similarly situated,                                                  1:20cv936
                                                                                1:21cv042
          Plaintiff,                                                            1:21cv345

JACOB WILSON,
Individually and on behalf of
all others similarly situated,

          Plaintiff,

CHRISTOPHER LEVI,
Individually and on behalf of
all others similarly situated,

          Plaintiff,

WILLIAM POWELL,
Individually and on behalf of
all others similarly situated,

          Plaintiff,

                    v.

THE KROGER COMPANY, et al.,

          Defendants.


                                                 CALENDAR ORDER

      Pursuant to the filing of the Rule 26(f) Report by the parties on November 19,
2021 (Docs. 79, 43, 45, 91 respectively), this case shall proceed as follows:

     1.    Telephone Status Conference 1: January 13, 2022 at 12:30 pm, by
          Telephone

                ATTENTION: parties shall be prepared to inform the Court of their
          progress related to Plaintiffs’ settlement demand and the Defendants’

         1
          1 Conferencing instructions to be provided by a separate notice which will follow this Order. These instructions shall be
used each time the Court conducts a telephone conference.
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          response prior to this setting in order to discuss the possibility of setting
          an early intervention settlement conference.

     2. Deadline to file motion for leave to amend the complaint: February 10, 2021

     3. Deadline for motions relative to the pleadings: September 30, 2022

     4. Deadline for disclosure of expert witnesses and submission of expert reports 2:
        Plaintiff disclosure and report of experts: May 27, 2022
        Defendant disclosure and report of experts: May 27, 2022
        Disclosure and report of rebuttal experts: July 29, 2022

    5. Discovery to be completed by3: August 26, 2022

    6. Dispositive motion deadline 4: September 30, 2022

      7. Settlement Conference 5: November 9, 2022 at 10:00 a.m. in Room 239

    8. Joint Final Pretrial Order/Jury Instructions: Submitted to the Court one week
prior to the final pretrial conference

      9. Final pretrial conference: February 28, 2023 at 10:00 a.m., Room 239

      10. Jury Trial: April, 2023, Courtroom 109

          IT IS SO ORDERED.

                                                                   s/Michael R. Barrett
                                                               Michael R. Barrett, Judge
                                                               United States District Court




          2
           Disclosure of Experts, Expert reports, and non-expert (fact) witnesses are not required to be filed with the Court.

          3
           Counsel shall not presume that a pending motion stays their obligation to complete discovery by this date.

         4
          Counsel shall familiarize themselves with the Court=s Standing Orders and S.D. Ohio Civ. R. The Court will not read
beyond 20 pages unless leave has been previously sought and granted. This Court requires courtesy copies of all substantive
motions be delivered to chambers upon filing.

          5Special Instructions regarding settlement: 1. All parties must bring their client or a representative with full settlement

authority. Failure to follow this requirement will result in sanctions; 2. Each counsel must prepare and submit via hand delivery to
the Court or via the chamber=s email address at: barrett_chambers@ohsd.uscourts.gov a letter no longer than five pages one week
prior to the conference a synopsis of the case and the status of any settlement negotiations to date. These letters NEED NOT be
filed with the Clerk=s Office nor exchanged with opposing counsel.
